Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 1 of 25




                                               22mr1041
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 2 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 3 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 4 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 5 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 6 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 7 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 8 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 9 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 10 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 11 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 12 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 13 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 14 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 15 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 16 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 17 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 18 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 19 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 20 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 21 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 22 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 23 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 24 of 25
Case 1:22-mr-01041-SCY Document 1 Filed 07/06/22 Page 25 of 25
